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                           IN THE UNITED STATES OF AMERICA
                               EASTERN DISTRICT OF TEXAS                      APR 18 2018
                                   SHERMAN DIVISION                       Clerk, U.S, District Court
                                                                               Texas Eastern

 UNITED STATES OF AMERICA                  §         SEALED
                                           §
 v.                                        §         No. 4:1 BCR 2
                                           §
 RICHARD CONN                              §
 aka Jason Conn                            §

                                    INDICTMENT
The United States Grand Jury Charges:

                                       COUNT ONE

                                                      Violation: 18 U.S.C. § 922(g)(1)
                                                      (Felon in Possession of a Firearm)

      On or about the 6th day of January 2018, in Denton County, Texas, in the Eastern

District of Texas, Richard Conn, defendant, having been convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess in and

affecting interstate commerce the following firearm: a Stoeger, Model 350, 12 gauge,

shotgun, serial number 143610; in violation of Title 18, United States Code, Sections

922(g)(1) and 924(a)(2).



                                       COUNT TWO

                                                      Violation: 18 U.S.C. § 922(g)(1)
                                                      (Felon in Possession of a Firearm)

      On or about the 25th day of January 2018, in Delta County, Texas, in the Eastern

District of Texas, Richard Conn, defendant, having been convicted of a crime
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punishable by imprisonment for a term exceeding one year, did knowingly possess in and

affecting interstate commerce the following firearms: a Stoeger, Model 350, 12 gauge

shotgun, serial number 143610, and a Remington, Model Seven, .243 Winchester rifle,

serial number RR65835G, in violation of Title 18, United States Code, Sections
i j
922(g)(1) and 924(a)(2).



j NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

!! Cri in l Forfeiture Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c
.n

            As a result of committing the felony offense in violation of 18 U.S.C. § 922(g)(1)

al eged in Counts One and Two of this indictment, defendant, Richard Conn, shall
 •


f( {feit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all
 'ji

fliCarms and ammunition involved in the offense, including but not limited to the

following:
     j
         1. Stoeger, Model 350, 12 gauge shotgun, serial number 143610
         2. Ammunition
Case 4:18-cr-00062-MAC-CAN Document 1 Filed 04/18/18 Page 3 of 4 PageID #: 3



                                              A TRUE


                                              FOREMAN


JOSEPH D. BROWN
UNITED STATES ATTORNEY



WILLIAM R. TATUM
Assistant United States Attorney
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                      IN THE UNITED STATES OF AMERICA
                          EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

UNITED STATES OF AMERICA § SEALED

V.                                          § No.4:18CR
                                            §
RICHARD CONN                                §

                            NOTICE OF PENALTY

                               Counts One & Two

     Violation:         18 U.S.C.§ 922(g)(1)

     Penalty:           Imprisonment of not more than ten years, a fine not to exceed
                        $250,000, or both; a term of supervised release of not more
                        than three years.


                        If it is shown the defendant has three previous convictions by
                        any court for a violent felony or a serious drug offense, or
                        both, committed on occasions different from one another -
                        Imprisonment of 15 years to life, a fine not to exceed
                        $250,000.00, or both; a term of supervised release of at least
                        3 years but not more than 5 years.




     Special Assessment: $ 100.00
